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In the Matter of:

Edward Sullivan V.
Town of Walpole, et.al.

 

Michael Benner

August 16, 2022

 

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i PROCEEDINGS 1 MICHAEL BENNER,
2 COURT REPORTER: This is 2 having been satisfactorily
3 Teresa Costello. | am a Certified Court 3 identified and duly sworn
4 Reporter, and | am a Notary Public in the 4 remotely by the Notary
5 Commonwealth of Massachusetts. 5 Public, was examined and
6 This deposition is being taken 6 testified as follows to
7 remotely. This witness is appearing 7 direct interrogatories
8 remotely from Walpole Police Department, 8 BY MR. GRIFFIN:
9 50 South Street, Walpole, Massachusetts. 9 Q. Good morning, Detective. My name is
10 The attorneys participating in 10 Attorney Robert Griffin.
11 this proceeding acknowledge their i A. Good morning.
12 understanding that | am not physically 12 Q. | have some questions I'd like to ask you
13 present in the proceeding room, nor am | 13 about the incident of October 24th in the
14 physically present with the witness and 14 arrest of Edward Sullivan.
15 that | will be reporting this proceeding 15 A. Yup.
16 remotely. They further acknowledge that, 16 Q. Can you tell me first -- I'd like some
Lt in lieu of an oath administered in person, iy background information, Detective. How
18 the witness will verbally declare his 18 long have you been a Walpole police
19 testimony in this matter under the pains 19 officer?
20 and penalties of perjury. The parties and 20 A. Since 2011.
21 their counsel consent to this arrangement 21 Q. I'm sorry?
22 and waive any objections to this manner of 22 A. Since 2011.
23 proceeding. 23 Q. Since 2011. And what is your current rank,
24 Please indicate your agreement by 24 sir?
Page 6 Page 8
1 stating your name and your agreement on the 1 A. I'ma Sergeant.
2 record, after which | will swear in the 2 Q. In October of 2018 you held the rank of
3 witness and we may begin. 3 detective, is that fair to say?
4 RRR KKEKREE EK 4 A. Yes, sir.
5 MR. GRIFFIN: Attorney 5 Q. And at some point -- what shift -- were you
6 Robert Griffin. | agree to the terms and 6 on duty on that day on the 24th?
7 conditions of the deposition. 7 A. Yes, sir.
8 MR. BARNETT: Attorney 8 Q. What shift were you working, sir?
9 Seth Barnett, | also agree. 9 A. The 8 to 4 shift.
10 (Report marked 10 Q. And at some point, sir, were you involved
11 Exhibit 1.) ad in an investigation regarding Edward
12 MR. GRIFFIN: Okay. First of all, 12 Sullivan?
13 I'd like to enter as Exhibit 1 the report 13 A. Yes.
14 of the various officers for the incident 14 Q. And could you tell me when was the -- when
15 involved in the arrest of Mr. Sullivan. | 15 were you first notified that you were
16 have it on my screen now and click screen 16 needed for this investigation?
17 share. 17 A. Inthe afternoon sometime. | have to refer
18 MR. BARNETT: I have a hard copy 18 to my report for the exact time.
19 too, so. 19 Q. Please.
20 MR. GRIFFIN: I'm sorry. 20 A. 1400 hours.
21 MR. BARNETT: I have a hard copy a1 Q. And what did you do when -- what did you do
22 as well so it can be easier. 22 once you received that notification, sir?
23 MR. GRIFFIN: Okay. 23 A. Chief Kelleher asked me to go to the high
24 SRR R RE EES 24 school to assist with the investigation.

 

 

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1 Q. And Chief Kelleher was the sergeant and 1 recollection.
2 detective at the time, is that correct? 2 A. Um, | believe she was filing a 51A.
3 A. Yes. 3 Q. Who was she filing a 51A in regards to?
4 Q. When you arrived there did you meet with 4 A. Um, the alleged domestic violence for the
5 another officer? 5 student and the father.
6 A. Yes. Andrew Kiewlicz was there. Tommy 6 Q. What was the student's name?
7 Hart was there. 7 A. qa Sullivan.
8 (Reporter asked for clarification) 8 Q. And did Ms. Tobey tell you anything
9 | think actually it was just Tommy there, 9 further?
10 and myself and Officer Kiewlicz went over 10 A. Not that | recall.
ded together. 11 Q. Did she tell you that she brought
12. Q. And when you and Officer Kiewlicz arrived LZ Ms ES ullivan to her office and spoke
13 there, you met with Officer Hart, is that 13 with her?
14 fair to say? 14 A. | don't recall.
15 A. Yes. 15 Q. Would it refresh your recollection if you
16 Q. And what did you do when you three met at 16 looked at your report?
17 the -- well, actually, this is at the 17 A. Yes, sir.
18 Walpole High School, correct, that we are 18 Q. Would you take a look at it, sir?
19 talking about? 19 A. Yes, sir. It's in my report.
20 A. Yes. 20 Q. Okay. Do you remember speaking with -- do
ZA Q. When you arrived at Walpole High School and 21 you remember what Ms. Tobey told you at
22 you met with Officer Hart, what did you do 22 this point?
23 at that point in time? 23 A. | can read from my report, sir.
24 A. | don't recall. 24 Q. If that's what it takes, okay.
Page 10 Page 12
1 Q. Well, Officer Hart was the school resource 1 A. "Lee stated that after becoming aware of
2 officer at the time, is that fair to say, 2 the situation she called down the victim
3 sir? 3 and asked her about the bruising. The
4 A. Yes. 4 victim stated that the bruising on both her
5 Q. Okay. Did you receive any information from 5 cheeks was caused by her brother (ili
6 Officer Hart? 6 Sullivan, age seven, falling off his bunk
7 A. Yes. 7 and falling on her last night. When asked
8 Q. Okay. What did you receive from -- what 8 if the story was truthful, the victim
9 information did you receive from Officer 9 stated that it was."
10 Hart? 10 Q. Okay. Did you become aware of any other
11 A. That one of the students there was -- 11 student that had made a statement to
12 stated that she was a victim of domestic 12 Ms. Tobey that day the 24th of October
13 violence, that she was punched by her 13 2018?
14 father. 14 A. Yes.
15 Q. Okay. And what did you do as a result of 15 Q. And who was that student, sir?
16 receiving that information? 16 =A. Her friend Games
17. A. I don't recall. 17 Q. Andare you aware of whatgqgigiiir is
18 Q. Did you interview anybody? Did you speak 18 alleged to have told Ms. Tobey?
19 with anybody else? Did you conduct some 19 A. Yes.
20 kind of an investigation? 20 Q. What is your recollection of that, what
21 A. | spoke to the assistant principal 21 had told Ms. Tobey?
22 Lee Tobey. 22 A. Thateliiiiiiimas told her that the father hit
23 Q. What did Ms. Tobey tell you? 23 her causing the bruising on her face.
24 MR. BARNETT: To the best of your 24 Q. Now was Miss ggg interviewed later on

 

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1 that day at the police station, sir? 1 responsibilities within the district
2 A. Yes, by Chief Kelleher. 2 attorney's office were, is that fair?
3 Q. Okay. And was that interview audio or 3 MR. BARNETT: Objection. You can
4 video recorded that you know of? 4 answer, if you know.
5 A. [have no idea, sir. 5 A. | don't recall.
6 Q. And were you aware that Miss Qj stated 6 Q. Do you know if they had any authority in
7 that there was a third party involved in 7 their job title or job descriptions to
8 this conversation, a student by the name of 8 consult with outside agencies regarding
9 Seren Fold)? 9 procedures in criminal investigations?
10 A. No, | did not know that. 10 A. | don't know.
11 Q. I'm sorry? 11 Q. Well, if | were to tell you that they
12 A. No. 12 were -- that they were just victim witness
13 Q. You didn't know that? Okay. Do you know 13 advocates within the office, is that
14 today if anybody has ever interviewed 14 something that would comport with your
15 GSE om the local police 15 understanding or you just don't know?
16 department? Has any interview ever been 16 MR. BARNETT: Objection. You can
17 conducted of S@iMPregarding this 17 answer if you know.
18 incident -- alleged incident on 18 A. | didn't know what their titles were, sir.
19 October 24th of 2018? 19 Q. Okay. So you had no idea who you were --
20 A. | don't know. 20 you had no idea what authority these
21 Q. Now at some point was the Norfolk County 21. individuals had when you spoke with them,
22 District Attorney's office contacted, sir? 22 is that fair to say?
23 A. Yes. 23 A. Yes.
24 Q. And who contacted the district attorney's 24 Q. What, if anything, did they advise you to
Page 14 Page 16
1 office? 1 do?
2 A. | know | spoke to them. 2 A. To hold the children at the school so that
3 Q. Who did you speak with? 3 they could get an immediate response by
4 A. Suzanne McDermott and Kristen Collins. 4 DCF.
5 Q. And what was the conversation you had with 5 Q. Did you ever ask them on whose authority
6 them, sir? 6 they were giving you that instruction?
7 A. About how we should proceed. 7 A. No. | didn't know who they were speaking
8 Q. And what positions do they hold at the 8 to if they were speaking to their bosses or
9 Norfolk County or did they hold at the 9 who.
10 Norfolk County District Attorney's office? 10 Q. So you didn't know -- you didn't know where
11 A. They were involved with juveniles. | don't 11 this directive was coming from, is that
12 know their exact titles. 12 fair to say?
13 Q. Well, are you aware that neither one of 13 A. Yes, sir.
14 them are assistant district attorneys? 14 Q. So what did you do after that, Detective,
15 A. | don't know their titles, sir. 15 after you spoke with the district
16 Q. But are you aware that they are not 16 attorney's victim witness advocates,
17 assistant district attorneys? They're not 17 Susan McDermott and Kristen Collins?:
18 lawyers. You spoke with them? 18 A. | don't recall.
19 A. | did not know what their titles are, no. 19 Q. Did you go anywhere?
20 Q. So you spoke with people from the DA's 20 A. Yes, to the Fisher School.
21 office who you didn't know what their 21 Q. And who did you go to the Fisher School
22 titles were? 22 with, if anyone?
23 A. | don't recall. 23 A. Andrew Kiewlicz and an individual from DCF.
24 Q. And you don't know what their 24 Q. And was that individual Brian Skutul?

 

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i A. Yes, sir. 1 A. | think we headed back to the police
2 Q. And was Mr. Skutul a response investigator 2 station.
3 for the Department of Children and Families 3 Q. When you say "we," who are you referring
4 at the time? 4 to, sir?
5 A. | didn't know his title. | know he worked 5 A. Myself and Andrew Kiewlicz.
6 for DCF. 6 Q. And did Mr. Skutul go back to the police
7 Q. Did you have any discussions with him, sir? 7 station as well?
8 A. | don't recall. 8 A. | don't recall. No. | believe he did,
9 Q. Did you ever advise him of the nature or 9 yes.
10 circumstances of your investigation? 10 Q. Do you recall if you had any
11 A. lt was four years ago. | don't recall the di. conversation -- not the contents of it --
12 conversation. 12 but do you recall if you had any
v3 Q. Well, I'm not asking you specifically to 13 conversation with him when you returned to
14 quote the conversation. What I'm asking 14 the police station? I'm referring to
15 you is did you advise him, in general, of 15 Mr. Skutul.
16 the nature and circumstances of the 16 A. Me, personally?
17 investigation that you were conducting? 17 Q. Yes.
18 A. Well, it could have been Tommy, it could 18 A. | don't recall, sir. Can | reference my
19 have been Andrew Kiewlicz, it could have Lo report?
20 been Chief Kelleher. | can't say that | 20 Q. If you need to, yes.
24 did because | don't recall. 21 A. Sure. | may have spoken to -- | don't
22 Q. Were you present when Mr. Skutul spoke with 22 recall the conversation.
23 any of the children of Edward Sullivan? 23 Q. At any point that day the 24th of October
24 A. Yes, sir. 24 in 2018 did you have -- make any personal
Page 18 Page 20
1 Q. And which children were you present when 1 observations of@@iRigiliiy Sullivan?
2 Mr. -- excuse me, let me rephrase that. 2 A. She had bruising under both of her eyes.
3 Who did Mr. Skutul interview in your 3 Q. And where did you see her?
4 presence, sir? 4 A. In Lee Tobey's office.
5 A. The two boys. 5 Q. At the Walpole High School?
6  Q. And that would be (iii. an Pag? 6 A. Yes, sir. Yes.
7 A. | have to refer to my report. 7 Q. And she denied her father ever having
8 Q. If you need to, please. 8 struck her, is that correct, sir?
9 A. Yes, sir, @iiifand Sa. 9 A. Yes, sir.
10 Q. And as seven years of age at the 10 Q. Did you take any further action in regard
11 time? 11 to investigating the circumstances
12 A. Yes, sir. 12 surrounding this alleged incident?
13 Q. And @gguigm was five at the time, is that 13 A. No, sir.
14 correct? 14 Q. Were you present when Edward Sullivan was
15 A. Yes. 15 interviewed?
16 Q. Five-years-old at the time? 16 A. Yes.
17 A. Yes. 17 Q. And it's fair to say Mr. Sullivan was
18 Q. How long did that interview take, do you 18 cooperative, correct?
19 recall, roughly? 19 A. Yes, sir.
20 A. No, | don't recall. A couple minutes. 20 Q. You or someone from the Walpole Police
21 Q. Acouple of minutes? 21 Department in your presence advised
22 A. Yeah. 22 Mr. Sullivan of his Miranda warnings,
23 Q. After the interview of SgggmmmaP and QE 23 correct?
24 what were the next steps that you took? 24 A. | don't recall if | was present when that

 

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